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                               AFFIDAVIT

I, Henry Blackwell, being duly sworn, declare and state as

follows:
                       I. PURPOSE OF AFFIDAVIT

     1.      This affidavit is made in support of a criminal

complaint and arrest warrants against LOTH BOUNLOM (“BOUNLOM”)

and VIENGXAY INTHAVONG (“INTHAVONG”) for a violation of 21

U.S.C. §§ 841(a)(1), (b)(1)(A)(viii); 18 U.S.C. § 2(a):

Possession with Intent to Distribute a Controlled Substance

(Methamphetamine) on or about June 1, 2020.

     2.      The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

does not purport to set forth all of my knowledge of or

investigation into this matter.      Unless specifically indicated

otherwise, all conversations and statements described in this

affidavit are related in substance and in part only.
                       II. BACKGROUND OF AFFIANT

     3.      I am a Special Agent (“SA”) with the United States

Department of Homeland Security (“DHS”), Immigration and Customs

Enforcement, Homeland Security Investigations (“HSI”), and have

been so employed since April 2017.       I am currently assigned to

the HSI Office in El Segundo, California, where I am part of the

International Mail Facility Border Enforcement Security
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Taskforce (the “Taskforce”).      The Taskforce is responsible for

investigating trafficking violations involving mail parcels,

including those sent internationally.       I also act as a duty

agent at the Los Angeles International Airport (“LAX”) and

investigate criminal activity at LAX.       Before my current

employment with HSI, I served as a CBP Officer (“CBPO”) for the

U.S. Customs and Border Protection (“CBP”) from November 2014

until April 2017. Before becoming a CBPO, I worked for U.S.

Border Patrol (“BP”) from August 2013 to November 2014.          I

graduated from the Criminal Investigator Training Program, at

the Federal Law Enforcement Training Center in December of 2017.

I also completed the CBPO Academy in April 2015, as well as the

BP Academy in February 2014; both are located at the Federal Law

Enforcement Training Center.      Through my training, I have

learned of HSI’s criminal investigative authority, as well as

investigative techniques.     HSI is responsible for enforcing

federal criminal statutes prohibiting, among other things, the

distribution of and possession with intent to distribute drugs,

in violation of Title 21 of the United States Code.         During my

employment with HSI, I have investigated the smuggling of drugs

throughout the United States.      I have executed search warrants

to seize evidence of violations of federal and state law, as

well as effected arrest warrants to apprehend individuals who

have committed such violations.      I am familiar with how drug

traffickers, exporters, and smugglers use digital devices and

the U.S. mail system to facilitate and conceal their crimes.




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                   III. SUMMARY OF PROBABLE CAUSE

     4.   Between February 11, 2019 and September 17, 2020,

BOUNLOM shipped and/or transported at least fifteen

international mail parcels that contained large quantities of

methamphetamine or cocaine concealed inside consumer products,

including children’s toys and baby hygiene and health products.

Around the dates in which BOUNLOM shipped drug parcels, based on

physical surveillance and review of pole camera footage

depicting the public area outside of INTHAVONG’s California

residence (defined below as the “Fire Hollow Residence”),

BOUNLOM and INTHAVONG had spent significant time inside

INTHAVONG’s California residence.      Records from Amazon.com,

Target Corporation, and email records from INTHAVONG’s Gmail

account, show that INTHAVONG researched and/or purchased toys

and baby products, which were consistent with those used to

conceal narcotics inside various international drug parcels.

     5.   On June 1, 2020, BOUNLOM shipped a parcel containing

approximately 2,157.2 grams of methamphetamine concealed inside

baby products, including a “Baby Dove complete care baby

essentials gift set”, “BabyBum” bubble bath bottles, and a

“Babyganics Essentials Gift Set”.      Target records show that, as

of July 7, 2020, each of these items was listed as “recently

viewed” in connection with INTHAVONG’s online Target account.

Additionally, that day, based on pole camera video, BOUNLOM

arrived at the Fire Hollow Residence at approximately 9:18 a.m.

At approximately 10:52 a.m., BOUNLOM then drove directly from

the Fire Hollow Residence to the shipping store where



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surveillance video shows BOUNLOM mail the parcel containing

methamphetamine. While BOUNLOM was present at the Fire Hollow

Residence, I know that INTHAVONG’s vehicle was parked at the

residence and I have never seen anyone drive that vehicle except

for INTHAVONG.

     6.    On September 17, 2020, law enforcement executed

multiple federal search warrants at locations associated with

BOUNLOM and INTHAVONG, including the Fire Hollow Residence.

Among other things, agents found a room inside the Fire Hollow

Residence that appeared to be used exclusively for packaging and

concealing narcotics. Inside the room, agents found multiple

boxes of unused vacuum-sealing bags, boxes of gloves, multiple

digital scales, heat sealing equipment, packaging supplies, and

various children’s toys and baby produces, including boxes of

“Baby Bum” bath products.

     7.    Pursuant to federal warrants, agents also searched

storage units used by BOUNLOM and/or INTHAVONG and found, among

other things, approximately 7.6 kilograms of methamphetamine;

approximately 5.8 kilograms of colored pills, which tested

positive for 3,4-Methylenedioxymethamphetamine (“MDMA”); a

semiautomatic firearm with unknown manufacturer marked with

SS80; and a variety of large-scale laboratory equipment,

including a pill pressing machine.

     8.    On September 17, 2020, federal agents arrested

INTHAVONG and BOUNLOM based on probable cause that each had

violated federal narcotics law. BOUNLOM and INTHAVONG remain in

custody.



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                   IV. STATEMENT OF PROBABLE CAUSE

     9.    Based on my review of law enforcement reports,

conversations with other law enforcement agents, and my own

knowledge of the investigation, I am aware of the following:
     A.    GPS Data and Surveillance Video Shows That BOUNLOM
           Repeatedly Distributed Methamphetamine and Cocaine

     10.   On April 9, 2020, the Honorable Charles F. Eick signed

a warrant authorizing the installation of a GPS tracking on

BOUNLOM’s primary vehicle -- a 2018 white Honda Civic bearing

California license plate number 8DTS744 and Vehicle

Identification Number (“VIN”) SHHFK7G48JU206531 (“BOUNLOM’s

vehicle”). 1   See 2:20-MJ-01601.

     11.   On April 20, 2020, GPS tracking data from BOUNLOM’s

vehicle shows that BOUNLOM drove to Gels Logistics Inc.

(“GELS”), a freight forwarding company located at 20275 Business

Parkway in the City of Industry, California.        Pursuant to an

independent internal directive to combat the transportation of

illegal items, GELS conducted a search of a parcel bearing

tracking number 5014097616 that was shipped to an address in

China and found two vacuum-sealed plastic bags containing an

unknown white powder concealed inside children’s toys (the

“04/20/20 COCAINE PARCEL”).     Law enforcement responded to GELS

and retrieved the 04/20/20 COCAINE PARCEL and determined,

through lab results, that it contained approximately 2 kilograms

of cocaine.

     1 To date, there have been three extensions to the tracker
warrant authorized by the Honorable Pedro V. Castillo, the
Honorable Gail J. Standish, and the Honorable Karen Stevenson,
respectively.


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     12.   On April 23, 2020, GPS tracking data from BOUNLOM’s

vehicle shows that BOUNLOM again drove to GELS.         Surveillance

video from that location, obtained from GELS, shows BOUNLOM

mailing a parcel bearing tracking number 5014097653 to China

(the “04/23/20 COCAINE PARCEL”). An examination of the 04/23/20

COCAINE PARCEL found that it contained a vacuum sealed plastic

bag containing approximately 1.08 kilograms of cocaine concealed

inside of a children’s toy -- a Marvel Black Panther action

figure box.   Notably, an “Avengers Black Panther Slash Claw” toy

was also packed inside the 04/23/20 COCAINE PARCEL.         Records

provided by Target Corporation (“Target”) show that an online

Target account opened in INTHAVONG’s name (the “INTHAVONG TARGET

ACCOUNT”) was used to purchase an “Avengers Black Panther Slash

Claw” on April 22, 2020 -- the day before BOUNLOM mailed the

04/23/20 COCAINE PARCEL -- and that the purchaser scheduled an

in-store pickup at the Target store located approximately 1.5

miles from 1618 Fire Hollow Drive, Diamond Bar, California,

91765 (defined below as the “Fire Hollow Address”), which, as

described below, is INTHAVONG’s California residence.

     13.   On June 1, 2020, GPS data from BOUNLOM’s vehicle shows

that BOUNLOM drove to a UPS Store located at 449 West Foothill

Boulevard, in Glendora, California (the “Glendora UPS Store”).

Surveillance video from the Glendora UPS Store shows BOUNLOM

mailing a parcel bearing tracking number 1Z59607R0416830190 to

New Zealand (the “06/01/20 METH PARCEL”).        Federal law

enforcement conducted an outbound border search of the 06/01/20

METH PARCEL and found multiple plastic bags containing



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approximately 2,157.2 2 grams of methamphetamine concealed inside
baby products, including a “Baby Dove complete care baby

essentials gift set”, “BabyBum” bubble bath bottles, and a

“Babyganics Essentials Gift Set”.

     14.    GPS data from BOUNLOM’s vehicle shows that BOUNLOM

drove to the same Glendora UPS Store on June 5, 2020.

Surveillance video from that location shows that BOUNLOM mailed

a parcel bearing tracking number 1Z59607R0489128198 to New

Zealand (the “06/05/20 METH PARCEL”).       Federal law enforcement

conducted an outbound border search of the 06/05/20 METH PARCEL

and found multiple plastic bags containing approximately 1,894.7

grams of methamphetamine concealed inside baby and other hygiene

products, including “Baby Dove” products.

     15.    On July 9, 2020, GPS data from BOUNLOM’s vehicle shows

that BOUNLOM traveled to the AAE Global Express shipping center

located at 202 North Garfield Avenue, in Monterey Park,

California (the “Monterey Park AAE”).       A surveillance image from

that location shows that BOUNLOM mailed a parcel bearing

tracking number 5014096080 to China (the “07/09/20 COCAINE

PARCEL”).   Federal law enforcement conducted an outbound border

search of the 07/09/20 COCAINE PARCEL and found a vacuumed

sealed plastic bag containing approximately 1 kilogram of

cocaine that was concealed inside a Forces of Valor brand toy

replica of the USS Missouri Battleship.


     2 Unless otherwise noted, methamphetamine quantities refer
to grams of actual methamphetamine based on laboratory analysis.
All cocaine drug quantities have also been confirmed by
laboratory.


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     16.   On July 10, 2020, GPS data from BOUNLOM’s vehicle

shows that BOUNLOM again traveled to the Monterey Park AAE.

Following BOUNLOM’s departure from the AAE shipping center,

federal agents determined that a parcel bearing tracking number

8500389295 was mailed to China at the time that BOUNLOM’s

vehicle was at AAE Shipping center parking lot (the “07/10/20

COCAINE PARCEL”).    Federal law enforcement conducted an outbound

border search of the 07/10/20 COCAINE PARCEL and found two

vacuumed sealed plastic bags containing approximately 2

kilograms of cocaine that was concealed inside two Disney toys.

One of the vacuumed sealed plastic bags containing cocaine was

located inside a Disney Princess Style Collection Play Suitcase

Travel Set.   Records and surveillance video from Target, show

that BOUNLOM, two days earlier (on July 8, 2020), purchased

various children’s toys, including the Disney Princess Style

Collection Play Suitcase Travel Set.

     17.   On July 14, 2020, GPS data from BOUNLOM’s vehicle

shows that BOUNLOM again traveled to the Monterey Park AAE.           On

or about August 9, 2020, New Zealand Customs Services (“NZCS”)

intercepted a parcel bearing tracking number 8500389273 (the

“07/14/20 METH PARCEL”).     AAE Global business records show that

the 07/14/20 METH PARCEL was shipped from the Monterey Park AAE

on July 14, 2020.    Inside the parcel, NZCS found approximately

1.8 kilograms of methamphetamine (based on presumptive field

testing) concealed inside baby products, including an “Honest

Company Truly Calming Shampoo & Lotion Bundle - Lavender.”




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      18.    On August 18, 2020, GPS data from BOUNLOM’s vehicle

shows that BOUNLOM traveled to a FedEx store located at 9216

Flair Drive, in El Monte, California.        On or about August 27,

2020, NZCS intercepted a parcel bearing FedEx tracking number

395948769591 (the “08/18/20 METH PARCEL”).         FedEx business

records show that the 08/18/20 METH PARCEL was mailed from the

FedEx store located at 9216 Flair Drive, in El Monte, California

on August 18, 2020.     Inside the parcel, NZCS found approximately

688 grams of methamphetamine (based on presumptive field

testing) concealed inside lotion bottles.
      B.     Inside INTHAVONG’s Residence, Law Enforcement Found a
             Room Dedicated to Packaging and Concealing Narcotics
             Consistent With Those Seized in this Investigation

      19.    On September 17, 2020, law enforcement executed a

federal search warrant at a residence located at 1618 Fire

Hollow Drive, Diamond Bar, California, 91765 (the “Fire Hollow

Residence”).    Based on earlier physical surveillance and review

of pole camera video 3 depicting the public area outside the
residence, I learned and observed that INTHAVONG has unlimited

access to the residence, including the garage where INTHAVONG

generally parks.     I also learned that INTHAVONG often sleeps at

the residence overnight when no other people are inside the

residence.    During the search of the Fire Hollow Residence, I

saw a photograph of INTHAVONG located in the master bedroom,

where I also saw men’s clothing in the closet. Based on the


      3Unless otherwise noted, any reference to pole camera
footage refers to video from a pole camera depicting the public
area outside of the Fire Hollow Address.



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search, I do not believe anyone else was living at the Fire

Hollow Residence. 4
      20.   Among other things, during the search of the Fire

Hollow Residence, law enforcement found a room that appeared to

be dedicated to packaging and concealing narcotics inside toys

and baby products.     Specifically, the room contained a heat-

sealing machine, multiple vacuum sealing machines, a hot glue

gun, a heat gun, cleaning towels and other cleaning products,

multiple boxes of unused vacuum-sealing bags and gloves, and

various unused boxes and packaging supplies.         There was also

various children’s toys located inside the room, including items

the co-conspirators had previously used to conceal

methamphetamine and/or cocaine, including boxes of “Baby Bum”

bath products, a toy replica battleship, a lavender “Honest”

company shampoo bottle, among others.

      21.   Inside other areas of the Fire Hollow Residence, law

enforcement found a money counter, another digital scale, a heat

sealer for plastic bags, a roll of plastic wrap used to vacuum

seal items, and a GPS tracking device.
      C.    INTHAVONG and BOUNLOM Packaged and Concealed Narcotics

      22.   Before the search warrant was executed on September

17, 2020, I know that INTHAVONG and BOUNLOM often spent

substantial time inside the Fire Hollow Residence on or around

the dates in which BOUNLOM shipped out drug parcels based on my

review of pole camera footage, GPS data from BOUNLOM’s vehicle,

      4Records provided by Southern California Edison show that
utility services related to the Fire Hollow Residence are in the
name of A.B, BOUNLOM’s wife.


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among other evidence.       BOUNLOM also often mailed drug parcels

after leaving the Fire Hollow Residence.

        23.    For example, GPS tracking data shows that BOUNLOM’s

vehicle traveled to the Target retail store located at 747 Grand

Ave, Diamond Bar, California, 91765, on July 8, 2020.           Target

records, including surveillance video, show BOUNLOM purchasing

the following items on July 8, 2020: two Baby Dove complete care

baby essentials gift sets, 5 an Honest Company Shampoo and Lotion
Bundle, 6 Johnson’s Bath And Body Gift Sets, a Disney Princess

Style Collection Play Suitcase Travel Set, and two other Disney

toys.       After BOUNLOM purchased the items, GPS data and pole

camera footage show that BOUNLOM returned to the Fire Hollow

Residence.      Once there, BOUNLOM took out multiple Target

shopping bags from his vehicle and took them inside the Fire

Hollow Residence.      At the time, based on my review of pole

camera video, I know that INTHAVONG was also inside the

residence.

        24.    Based on GPS data and surveillance, on July 8, 2020,

BOUNLOM later drove from the Fire Hollow Address to a UPS Store

located in Diamond Bar, California.         Records from the USP Store

show that at the time BOUNLOM was in the store, someone

purchased various shipping materials, including multiple

shipping boxes. BOUNLOM then drove back to the Fire Hollow



        5
       Notably, the methamphetamine concealed in the 06/01/20 and
the 06/05/20 METH PARCELS was concealed in the same Baby Dove
products.
     6 Notably, the methamphetamine concealed in the 07/14/20
METH PARCEL was concealed in the same Honest Company products.


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Residence where law enforcement saw BOUNLOM take multiple unused

boxes and packaging materials inside the residence.

      25.   The following day, on July 9, 2020, federal law

enforcement conducted surveillance of BOUNLOM. During

surveillance agents saw BOUNLOM take a large black trash bag

containing what appeared to be a box or boxes from the Fire

Hollow Address and place it into the trunk of BOUNLOM’s vehicle.

At the time, based on my review of pole camera footage,

INTHAVONG was still inside the Fire Hollow Residence.           BOUNLOM

then drove to the Monterey Park AAE where he shipped the

07/09/20 COCAINE PARCEL.      As noted above, on July 10, 2020,

BOUNLOM also shipped a parcel the next day (July 10, 2020) with

cocaine concealed inside of a toy he purchased from Target two

days earlier -- a Disney Princess Style Collection Play Suitcase

Travel Set.

      26.   Based on my review of information related to the

tracking device installed on BOUNLOM’s vehicle and other

evidence, I determined that BOUNLOM traveled from the Fire

Hollow Residence to ship the following parcels, among others:

            a.   On April 20, 2020, GPS data from BOUNLOM’s

vehicle shows that BOUNLOM traveled from the Fire Hollow

Residence to GELS, where he shipped the 04/20/20 COCAINE PARCEL

to China.

            b.   On April 23, 2020, GPS data from BOUNLOM’s

vehicle shows that BOUNLOM again traveled from the Fire Hollow

Residence to GELS, where he shipped the 04/23/20 COCAINE PARCEL

to China.



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             c.   On June 1, 2020, GPS data from BOUNLOM’s vehicle

shows that BOUNLOM traveled from the Fire Hollow Residence to

the Glendora UPS Store to mail the 06/01/20 METH PARCEL. Based

on GPS data from BOUNLOM’s vehicle and pole camera video

depicting the public area outside the Fire Hollow Residence,

BOUNLOM arrived at the Fire Hollow Residence at approximately

9:18 a.m.    At approximately 10:52 a.m., BOUNLOM then drove

directly from the Fire Hollow Residence to the shipping store

where surveillance video shows BOUNLOM mail the parcel

containing methamphetamine. While BOUNLOM was present at the

Fire Hollow Residence, I know that INTHAVONG’s vehicle was

parked at the residence and I have never seen anyone drive that

vehicle except for INTHAVONG.

             d.   On June 5, 2020, GPS data from BOUNLOM’s vehicle

shows that BOUNLOM again traveled from the Fire Hollow Residence

to the Glendora UPS Store to mail the 06/05/20 METH PARCEL.
      D.     INTHAVONG Has Researched and Purchased Items Used to
             Conceal Drugs

      27.    Based on records provided by Target, I determined the
following:

             a.   INTHAVONG maintains an online Target account that

was opened in INTHAVONG’s name and linked to an email address

associated with INTHAVONG (the “INTHAVONG TARGET ACCOUNT”). 7


      7The INTHAVONG TARGET ACCOUNT is linked to
“eightofspades008@yahoo.com.” On July 27, 2020, Postal
Inspector Weidenkopf obtained a search warrant for INTHAVONG’s
“eightofspades008” account that was signed by the Honorable
Pedro V. Castillo, United States Magistrate Judge. See 20-MJ-
3476. Based on my review of records provided by Yahoo, among



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           b.     Target provided information about “recently

viewed” items associated with the INTHAVONG TARGET ACCOUNT.

which revealed as of July 7, 2020.        The list of recently viewed

list includes numerous children’s products, including the

following four products used to conceal methamphetamine inside

seized international parcels: (1) “BabyBum” bubble bath (the

product used to conceal the methamphetamine found in the

06/01/20 and 07/14/20 METH PARCELS); Honest Company body lotion

bottles (the product used to conceal the methamphetamine found

in the 06/16/20 and 07/14/20 METH PARCELS); “Baby Dove complete

care baby essentials gift set” (the products used to conceal

methamphetamine found in the 06/01/20 and 06/05/20 METH

PARCELS); and “Babyganics Essentials Gift Set” (the product used

to conceal methamphetamine found the 06/01/20 METH PARCEL).

           c.     Target receipts show that the user of the

INTHAVONG TARGET ACCOUNT also purchased various items, including

products likely shipped inside parcels containing drugs.

Specifically, on April 22, 2020, the user of the account

purchased various items, including an Avengers Black Panther

Slash Claw.     When law enforcement searched the 04/23/20 COCAINE

PARCEL, agents found the same toy -- an Avengers Black Panther

Slash Claw toy in the parcel with the drugs.         Additionally,

Target records also show that INTHAVONG’s credit card was used


other things, I determined that INTHAVONG is the user of the
email account. For example, there are multiple emails
referencing INTHAVONG’s real name, including hotel and flight
bookings. Additionally, the alternative email account for the
Yahoo account is “eightofspades008@gmail.com” (defined below as
the “INTHAVONG GOOGLE ACCOUNT”).


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on April 27, 2019 to purchase, among other things, a box of

trading cards and an “NFL ShowDown” children’s game.          Notably,

on May 14, 2019, NZCS intercepted a DHL parcel bearing tracking

number 3405429215 (the “05/09/19 METH PARCEL”) -- which was

shipped from California on May 9, 2019 -- and contained

approximately 2 kilograms of methamphetamine (based on

presumptive field testing) concealed inside an “NFL ShowDown”

children’s game. Also, inside the 05/09/19 METH PARCEL was a box

of trading cards.

      28.   On July 27, 2020, the Honorable Pedro V. Castillo

signed email search warrants related to the follow two email

accounts controlled by INTHAVONG: “eightofspades008@yahoo.com”

(the “INTHAVONG YAHOO ACCOUNT”) and “eightofspades008@gmail.com”

(the “INTHAVONG GOOGLE ACCOUNT” and collectively the “INTHAVONG

EMAIL ACCOUNTS”). See Case Nos. 20-MJ-3476, 20-MJ-3477.           During
the search, law enforcement found evidence related to drug

manufacturing and distribution, including evidence that

INTHAVONG: (1) purchased items used to package and conceal the

drugs (e.g., vacuum sealing equipment, vacuum sealing bags,

Selizo 100 Sheets Black Carbon Transfer Tracing Paper, and a

precision scale); (2) purchased items and/or viewed items on

Amazon.com that could be used to manufacture controlled

substances, including dehumidifying equipment, a large power

generator that cost over $20,000, security systems, sheets of

carbon paper, and equipment that could be used to identify law

enforcement surveillance, among others.




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      29.    Based on Amazon.com records, INTHAVONG, using an

account associated with the INTHAVONG GMAIL ACCOUNT, purchased

the following items, among others:

             a.   Large quantities of vacuum sealer bags on or

about November 19, 2019 and May 27, 2020.

             b.   Multiple 3M reusable respirators and acid

gas/organic vapor cartridges;

             c.   Handheld heat bag sealers;

             d.   multiple air scrubber carbon filters -- which are

used as an odor remover for air purifiers and dehumidifying

equipment,

             e.   WiFi temperature and humidity monitor, wireless

digital indoor hygrometer thermometer; and

             f.   a large “Fireproof Safe and Water Resistant Bag

for Money”.
      E.     Pursuant to Federal Warrants, Agents Searched Three
             Storage Units Associated with BOUNLOM and INTHAVONG

      30.    Pursuant to a warrant, law enforcement searched two

storage units -- Storage Units E340 and E360 -- located at the
CubeSmart Self Storage facility located at 985 Fairway Drive,

Walnut, California, 91789 (the “Walnut CubeSmart”). 8
      31.    Between June 23, 2020, and September 13, 2020, based

on CubeSmart records, including surveillance video, BOUNLOM and


      8Records from the Walnut CubeSmart, including surveillance
video, show BOUNLOM lease Unit E360 on September 8, 2020 using a
stolen or counterfeit driver’s license in the name of “Binh
Chi.” Surveillance video and CubeSmart records show that
BOUNLOM and another co-conspirator rented Storage Unit E340 a
few months earlier, on June 23, 2020 in the name of “Kai-Yi
Shen.”


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INTHAVONG repeatedly accessed the Walnut CubeSmart facility.

Specifically, during that timeframe, CubeSmart records show that

BOUNLOM and/or INTHAVONG accessed the Walnut CubeSmart facility

at least 25 times.

      32.   During the search of Storage Unit E360, law

enforcement found approximately 7.6 kilograms of methamphetamine

based on presumptive field testing; approximately 5.8 kilograms

of various colored pills containing 3,4-Methylenedioxy

methamphetamine (“MDMA”) based on presumptive field testing; and

a semiautomatic firearm with unknown manufacturer marked with

SS80. Storage Unit E340 was empty and had no lock on the

exterior.   Notably, lease term for Storage Unit E340 was set to

end on September 23, 2020.

Pursuant to a warrant, law enforcement also searched Storage

Unit B022 at the Public Storage Facility located at 211 West

Allen Avenue, San Dimas, California, 91773.         Inside the unit,

law enforcement found several digital scales, packaging and




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shipping supplies, and industrial-scale laboratory equipment,

including a large tablet press machine:




      F.    INTHAVONG and BOUNLOM Are Suspected Members of the
            “Hellside” Street Gang

      33.   Based on my review of the public profiles on

Facebook.com (associated with INTHAVONG), I saw photographs

depicting INTHAVONG displaying gang signs known to be associated
with the “Hellside” street gang.       Also, based on a 2009 arrest

report for BOUNLOM, who was arrested for being a felon in

possession of a gun, I know that BOUNLOM’s moniker is “WICKED”

and that he has a tattoo on his stomach associated with the

Hellside street gang.     Additionally, during the search of

INTHAVONG’s residence on September 18, 2020, I saw large “H”

letter decorations in various areas of the residence, including

in the master bedroom and the dining room on top of a shelf with

a hidden compartment for storing a firearm (no firearm was found


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